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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

______________________________________________________________________________

United States of America,                            Criminal No. 05-296 (RHK/SRN)

               Plaintiff,
                                                             ORDER
v.

Dena Jean Jackson,

            Defendant .
______________________________________________________________________________




       The Government’s Motion Regarding Continuance of Sentencing Hearing is DENIED.




Dated: July 27, 2006                             s/Richard H. Kyle
                                                 RICHARD H. KYLE
                                                 United States District Judge
